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GEORGE ROGERS, individually

Defendants.

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IN THE UNITED STATE 054 :\
S DISTRICT COURT 631
FOR THE WESTERN DISTRICT OF TENNESSEE <°.9 00
EASTERN DIVISION é?@; ~ ”/. 4/7¢9. '
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TERESA DONNELL and ) 453@0
HARVEY DONNELL, ) l/
)
Plaintiffs, )
)
vs. ) No. 1-05-1139-TAn
)
KOHLER COMPANY and )
)
)
)
)

 

RULE 16(b) SCHEDUL[NG ORDER

 

Pursuant to Rule 26(£) and Rule 16 (b) of the Federal Rules of Civil Procedure, the
following dates are established as the final dates for:

INITIAL DISCL()SURES (Rule 26(a)(l)): September 12, 2005

JOINING PARTIES:

For Plainti.ffs: October 30, 2005

For Defendants: November 30, 2005
AMENDING PLEADINGS:

For Plaintiffs: October 30, 2005

F or Defendants: November 30, 2005
COMPLETING ALL DISCOVERY: March 30, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES AND
REQUESTS FOR ADMISSIOl'\lS: March 30, 2006

This document entered on the docket sheet In compliance
with nme 58 and:or_?e (a) FncP on OS`- -clS

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(b) ExPERT l)IscLsoUREs (Ruie 26(3)(a)=

(i) For Plaintiffs: l)ecember 30, 2005
No later than 2 months before close of discovery
(ii) F or Defendants: February 28, 2006

No later than l month before close of discovery
(iii) Supplementation under Rule 26(e):
10 Days after Defendant’s disclosure

(c) DEPOSITION ()F EXPERTS: March 30, 2006

FILING OF DISPOSITIVE MOTIONS: Apri124, 2006 (3 months before trial)

FlNAL LISTS oF wrrNEssEs AND EXHIBITS (Rule 26(a)(3)=

For Plaintiffs; 45 days before trial
For Defendants: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 3 days and is SET for JURY TRIAL Monday,
July 24, 2006, at 9:30 am.

A joint pretrial order is due on Friday, July 14, 2006. ln the event the parties are unable to
agree on ajoint pretrial order, the parties must notify the court at least ten days before trial.

interrogatories Request for Production and Requests for Admissions must be submitted to
the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery, For example, if the FRCP allow 30 days for a party to respond, then the
discovery must be submitted at least 30 days prior to the deadline for completion of discovery.

Motions to compel discovery are t be filed and served by the discovery deadline or within
30 days of the default or service of the response, answer, or objection Which is the subject of the
motion if the default occurs within 30 days of the discovery deadline, unless the time for filing of
such motion is extended for good cause shown, or any objection to the default, response, or answer
shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all motions,
except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a proposed Order and
a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party may
file an additional reply, however, Without leave of the court. lf a party believes that a reply is

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necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting forth
the reasons for Which a reply is required

The parties may consent to a trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that Wil] not be continued unless a continuance

is agreed to by all parties, or an emergency arises which precludes the matter from proceeding to
trial.

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice. Absent
good cause shown, the scheduling dates set by this Order will not be modified or extended

lT lS SO ORDERED.

g%m.s @t)

S. THOMAS ANDERSON
UNITED STATES
MAGISTRATE JUDGE

Date: %d({m;f‘ ZG),_ ZOE§J/

Approved for Entry:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01139 was distributed by fax, mail, or direct printing on

August 29, 2005 to the parties listed.

 

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Honorable .1 ames Todd
US DISTRICT COURT

